                                     IN THE
                             TENTH COURT OF APPEALS

                                 No. 10-23-00343-CR

TERRANCE JERMAINE MOORE,
                                                           Appellant
v.

THE STATE OF TEXAS,
                                                           Appellee



                           From the 85th District Court
                               Brazos County, Texas
                         Trial Court No. 18-01958-CRF-85


                             MEMORANDUM OPINION

       A jury found Appellant Terrance Jermaine Moore guilty of the second-degree

felony offense of assault family violence strangulation with a previous conviction. The

trial court found an enhancement paragraph true, assessed Moore’s punishment at

twenty years’ confinement in the penitentiary, and sentenced him accordingly. This

appeal ensued. In his sole issue, Moore argues that the evidence was legally insufficient

to prove beyond a reasonable doubt that Moore and the victim, Ida Ford, had a dating

relationship.   We affirm.
AUTHORITY

        The Court of Criminal Appeals has defined our standard of review of a

sufficiency issue as follows:

                When addressing a challenge to the sufficiency of the evidence, we
        consider whether, after viewing all of the evidence in the light most
        favorable to the verdict, any rational trier of fact could have found the
        essential elements of the crime beyond a reasonable doubt. Jackson v.
        Virginia, 443 U.S. 307, 319, 99 S.Ct. 2781, 61 L.Ed.2d 560 (1979); Villa v.
        State, 514 S.W.3d 227, 232 (Tex. Crim. App. 2017). This standard requires
        the appellate court to defer “to the responsibility of the trier of fact fairly
        to resolve conflicts in the testimony, to weigh the evidence, and to draw
        reasonable inferences from basic facts to ultimate facts.” Jackson, 443 U.S.
        at 319. We may not re-weigh the evidence or substitute our judgment for
        that of the factfinder. Williams v. State, 235 S.W.3d 742, 750 (Tex. Crim.
        App. 2007). The court conducting a sufficiency review must not engage in
        a “divide and conquer” strategy but must consider the cumulative force of
        all the evidence. Villa, 514 S.W.3d at 232. Although juries may not
        speculate about the meaning of facts or evidence, juries are permitted to
        draw any reasonable inferences from the facts so long as each inference is
        supported by the evidence presented at trial. Cary v. State, 507 S.W.3d 750,
        757 (Tex. Crim. App. 2016) (citing Jackson, 443 U.S. at 319); see also Hooper v.
        State, 214 S.W.3d 9, 16–17 (Tex. Crim. App. 2007). We presume that the
        factfinder resolved any conflicting inferences from the evidence in favor of
        the verdict, and we defer to that resolution. Merritt v. State, 368 S.W.3d
        516, 525 (Tex. Crim. App. 2012). This is because the jurors are the
        exclusive judges of the facts, the credibility of the witnesses, and the
        weight to be given to the testimony. Brooks v. State, 323 S.W.3d 893, 899
        (Tex. Crim. App. 2010). Direct evidence and circumstantial evidence are
        equally probative, and circumstantial evidence alone may be sufficient to
        uphold a conviction so long as the cumulative force of all the
        incriminating circumstances is sufficient to support the conviction.
        Ramsey v. State, 473 S.W.3d 805, 809 (Tex. Crim. App. 2015); Hooper, 214
        S.W.3d at 13.

               We measure whether the evidence presented at trial was sufficient
        to support a conviction by comparing it to “the elements of the offense as
        defined by the hypothetically correct jury charge for the case.” Malik v.
        State, 953 S.W.2d 234, 240 (Tex. Crim. App. 1997). The hypothetically
        correct jury charge is one that “accurately sets out the law, is authorized
        by the indictment, does not unnecessarily increase the State’s burden of

Moore v. State                                                                             Page 2
        proof or unnecessarily restrict the State’s theories of liability, and
        adequately describes the particular offense for which the defendant was
        tried.” Id.; see also Daugherty v. State, 387 S.W.3d 654, 665 (Tex. Crim. App.
        2013). The “law as authorized by the indictment” includes the statutory
        elements of the offense and those elements as modified by the indictment.
        Daugherty, 387 S.W.3d at 665.

Zuniga v. State, 551 S.W.3d 729, 732–33 (Tex. Crim. App. 2018).

        A “dating relationship” is defined as a relationship between individuals who

have or have had a continuing relationship of a romantic or intimate nature. TEX. FAM.

CODE ANN. § 71.0021(b). The existence of such a relationship shall be determined based

on consideration of (1) the length of the relationship; (2) the nature of the relationship;

and (3) the frequency and type of interaction between the persons involved in the

relationship. Id.

DISCUSSION

        Ford testified extensively regarding the relationship she had with Moore,

including providing details about the length and nature of the relationship and the

frequency and type of interactions between them. Id; See also Edward v. State, 635 S.W.3d

649, 657 (Tex. Crim. App. 2021) (the statutory factors are not standalone elements, they

are guideposts for the jury to weigh in evaluating whether the definition is met).

Specifically, she testified that she and Moore were in an on-again-off-again relationship

for two or three years. She stated while they first met because they were neighbors,

they began a sexual relationship, and the sexual interactions continued over the entire

course of the relationship. She also testified that she believed both she and Moore




Moore v. State                                                                           Page 3
characterized it as a relationship, and that Moore would become jealous if he believed

she was talking to other men.

        Additionally, Officer Dunford testified regarding his understanding of the

relationship between Moore and Ford. He stated that as soon as he arrived on scene,

Ford referred to Moore as her “ex-boyfriend.” See Edward, 635 S.W.3d at 658 (common

usage of the word “boyfriend” by itself implies a continuing relationship of a romantic

or intimate nature).    Officer Dunford also testified that over the course of his

investigation, he came to understand that the event precipitating the assault was

Moore’s jealously after learning about a rumor that Ford was romantically involved

with someone else. Finally, Officer Dunford stated that Ford filled out a family violence

packet directly following the assault. See id at 659. (providing the family violence form

supports a logical inference that the victim indicated she was in a dating relationship

with the defendant).

        Moore argues that the casual nature of the relationship between Ford and

himself should lead to the conclusion that it was not a “dating relationship,” but rather

a “casual acquaintanceship.”      Specifically, Moore points to Ford maintaining a

relationship with another man and consistently referring to her relationship with Moore

as “casual” to support his contention that it is unreasonable to classify it as a dating

relationship. However, jurors are the exclusive judges of the facts, the credibility of the

witnesses, and the weight to be given to the testimony. See Brooks v. State, 323 S.W.3d at

899. Therefore, we presume that the jury resolved any conflicting inferences from the



Moore v. State                                                                       Page 4
evidence in favor of the verdict, and we defer to that resolution. See Merritt, 368 S.W.3d

at 525.

          Considering the foregoing evidence viewed in the light most favorable to the

verdict, we conclude that the jury could have rationally found beyond a reasonable

doubt that Moore was in or had previously been in a continuing relationship of a

romantic or intimate nature with the victim. Therefore, the evidence was sufficient for

the jury to have rationally determined that Moore and Ford had a dating relationship.

          We overrule Moore’s sole issue.

                                         Conclusion

          Having overruled Moore’s sole issue, we affirm the trial court’s judgment.




                                            MATT JOHNSON
                                            Justice

Before Chief Justice Gray,
       Justice Johnson, and
       Justice Smith
Affirmed
Opinion delivered and filed August 22, 2024
Do not publish
[CR25]




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